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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Daniel J. Senters, was on duty and performing my official
duties as a Special Agent. Specifically, I am assigned to the Washington Field Office, tasked with
investigating criminal activity in and around the Capitol grounds. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

FBI Agents received a tip that Matthew Bledsoe had been part of the group that entered the Capitol
illegally. Upon following up, they received a video compilation that was posted to his Instagram
account – theessentialmattbledsoe – which included several selfie photographs of Mr. Bledsoe
throughout the day and some videos clips. These images appear to be captured by Mr. Bledsoe on
a device he is carrying. Bledsoe is seen both outside and inside the Captiol. In the video of him
entering the Capitol, Bledsoe turns the camera to show the door then says, “In the Capitol. This is
our house. We pay for this shit. Where’s those pieces of shit at?” As he’s walking and talking,
the video shows him passing through the outer door and into the hallway Below are several still
frames from that video..




The video ends with another video clip captured by a person out of view of the camera where the crowd is
chanting, “Stop the steal! Stop the steal!,” as they march through the halls of the Capitol.

       Bledsoe was identified and a Complaint and Arrest warrant were issued for him by Magistrate Jude
Zia M. Faruqui in Washington, D.C., on January 13, 2021. He was arrested in Shelby County, Tennessee
on January 15, 2021.

        One of the photographs provided by the tipster in the Bledsoe case showed Mr. Bledsoe and a man
smiling together in what appears to be the inside of the Capitol building based on the background of the
photograph. The man with Mr. Bledsoe in the photograph has lowered a gray respirator with purple and
yellow tape bands around the filter cartridges where they meet the main part of the mask. The man
also has a distinctive pair of ski goggles with multi-colored glass on his upper forehead.
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       The tipster also provided a screenshot of the Blake Austin Reed Facebook account. That
account had posted a series of photographs of the events leading up to the breach of the Capitol.
Prominently featured in the upper lefthand corner photograph is a man in a distinctive pair of ski
goggles with multi-colored glass on the upper portion of his face and a gray respirator with purple
and yellow tape bands around the filter cartridges where they meet the main part of the mask on
the lower portion of his face. This unusual outfit choice matches the attire of the man smiling
alongside Mr. Bledsoe inside the Capitol. The Blake Austin Reed Facebook account screenshot
includes the words, “We The People have spoken and we are pissed! No antifa, no BLM… We
The People took the Capitol!”
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      An open records search shows a Blake Reed with a Pinterest account – blakeareed90 –
whose profile picture appears to depict the same person in the photograph with Mr. Bledsoe.
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Law Enforcement was also able to find LinkedIn profiles for Blake Reed and Mr. Bledsoe
showing that they both attended Germantown High School in Memphis, Tennessee from 2000-
2002.




Finally, law enforcement was able to confirm the identification of Mr. Blake Austin Reed by
comparing his Tennessee state-issued driver’s license photo (on the left) against the photo of Mr.
Reed and Mr. Bledsoe inside the Capitol (on the right).
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Blake Austin Reed violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Blake Austin Reed violated
40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     DANIEL J. SENTERS
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this the 16th day of January 2021.




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                                                     U.S. MAGISTRATE JUDGE
